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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


Jane Doe,
Plaintiff,
v.
SEAN COMBS, DADDY’S HOUSE                          24-cv-07975-AT
RECORDINGS INC., CE OPCO, LLC
d/b/a COMBS GLOBAL f/k/a COMBS
ENTERPRISES LLC, BAD BOY                           DECLARATION OF MARI
ENTERTAINMENT HOLDINGS, INC.,                      HENDERSON
BAD BOY PRODUCTIONS HOLDINGS,
INC., BAD BOY BOOKS HOLDINGS,
INC., BAD BOY RECORDS LLC, BAD
BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10,
INDIVIDUAL DOES 1-10, AND SHAWN
CARTER
Defendants.



      I, Mari Henderson swear, under penalty of perjury, pursuant to 28 USC 1746 as follows:

      1. I am an associate with the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,
         attorneys for Defendant Shawn Carter and I submit this declaration in support of Mr.
         Carter’s Motion to Deny Plaintiff’s Motion to Proceed Anonymously.

      2. On December 9, 2024, I spoke by telephone with a female adult resident of the State
         of Texas whose name is known to me. Another adult whose full name is known to me
         was a witness to the conversation.

      3. The information contained in this Declaration is an accurate summary of the
         information provided to me by this woman on December 9, 2024, namely that:

             a) In early October, 2024, this woman saw coverage of attorney Anthony Buzbee’s
                press conference regarding allegations of trafficking and abuse by Sean Combs, and
                submitted a brief outline of trafficking exploitation events via a Buzbee Law Firm
                website online submission form.
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   b) The woman spoke with three members of Mr. Buzbee’s firm and provided details
      regarding her experiences as a victim of trafficking by celebrities entirely unrelated
      to Mr. Combs (or Mr. Carter), and she was told they would take on her
      representation.

   c) After detailing her experiences to an attorney at Mr. Buzbee’s firm, he pressed for
      a connection to Mr. Combs, asking “at what point did you meet Diddy,” even
      though she made clear that her case was unrelated to Mr. Combs.

   d) Mr. Buzbee’s firm pressed for this woman to pursue a civil case as an anonymous
      Doe plaintiff, even though she never raised proceeding anonymously as a
      possibility and questioned doing so after it was heavily suggested to remain doing
      so, even though she was not interested in remaining anonymous at the time.

   e) When the woman brought up wanting to go to law enforcement with her allegations,
      members of the Buzbee firm informed her that going to law enforcement was “not
      encouraged.”

   f) After not hearing from Mr. Buzbee’s firm for weeks, during which this woman tried
      to contact the firm multiple times, she spoke again with a member of the firm who
      pressed her to confirm false details regarding her experiences as a victim, including
      that she was drugged, held down, pushed, and physically assaulted. She felt
      directed and coached by Mr. Buzbee’s firm to say that someone held her down and
      put drugs in her mouth when that was not her experience. She felt forced to lie.

   g) When the woman made clear she was unwilling to adapt to the narrative Mr.
      Buzbee’s firm laid out and wanted only to speak her truth, she was dropped as a
      client and told that Mr. Buzbee’s firm was unwilling to represent her any longer.
      She felt as though once she had expressed that she was not a coachable victim, she
      was dismissed.

   h) This woman shared this information because she felt the conduct by Mr. Buzbee’s
      firm—specifically, to encourage lies—discredits those who are legitimate victims.

   i) This woman expressed that she fears retaliation from Mr. Buzbee’s firm if she
      shares her true identity or signs her name to a declaration in this case at this time.

4. I declare under the penalty of perjury that the foregoing statements are true and correct.
   Executed in Los Angeles, California on this 10 th day of December, 2024.




                                                                            Mari Henderson
